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                                      Appendix A – Documents Cited in Tarbutton Affirmation
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    Source1                                                      Exhibit     Previous Use           Filings                 Immaterial2
    Affirmation of Senator Joseph Robert “Bob” Kerrey, a         Exhibit 1   Affirm. of Sean P.                             Hearsay, FRE 602
    Member of the National Commission on Terrorist Attacks                   Carter, Ex. 4
    Upon the United States (“9/11 Commission”), dated                        (ECF No. 2927);
    February 24, 2012 (ECF No. 2927- 4)                                      Aver. Ex. 24
                                                                             (ECF No. 2930)
    Affirmation of Secretary John F. Lehman, a Member of the     Exhibit 2   Affirm. of Sean P.                             Hearsay, FRE 602
    National Commission on Terrorist Attacks Upon the United                 Carter, Ex. 3
    States (“9/11 Commission”), dated February 3, 2015 (ECF                  (ECF No. 2927)
    No. 2927-3)
    Declaration of Richard Ben-Veniste, a Member of the          Exhibit 3                          Kreindler Ex. 254       Hearsay, FRE 602
    National Commission on Terrorist Attacks Upon the United
    States (“9/11 Commission”), dated October 12, 2017
    April 19, 2016 article appearing in Real Clear Politics,     Exhibit 4                                                  Hearsay, FRE 602,
    Declassify the Secret 28 Pages, authored by Timothy John                                                                Preliminary
    “Tim” Roehmer, a Member of the National Commission on                                                                   investigative material
    Terrorist Attacks Upon the United States (“9/11
    Commission”)
    Transcript from Anderson Cooper 360 Degrees, televised       Exhibit 5                                                  Hearsay, FRE 602
    by CNN on February 4, 2015




1
 Document descriptions, other than bracketed text indicating commonly-used short-form descriptors, are taken directly from the Affirmation.
Their use is for convenience only and should not be taken as a concession that the descriptions are accurate.
2
 Defendant’s objections to the cited documents are made for purposes of the pending motion to dismiss. Defendant reserves the right to move to
exclude, or to assert additional objections, in the event that any party seeks to admit any of the cited documents into evidence in any future
proceeding.

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Affidavit of Michael T. Rochford, dated November 7, 2017      Exhibit 6                                         Hearsay, FRE 602,
                                                                                                                Preliminary
                                                                                                                investigative material
Affidavit of David Mitchell, dated November 7, 2017           Exhibit 7                                         Hearsay, FRE 602,
                                                                                                                Preliminary
                                                                                                                investigative material
Affirmation of Senator Daniel Robert “Bob” Graham, Co-        Exhibit 8                                         Hearsay, FRE 602,
Chair of the Joint Congressional Inquiry into the Terrorist                                                     Preliminary
Attacks of September 11, 2001, dated November 6, 2017                                                           investigative material
Affirmation of Evan Francois Kohlmann, dated November         Exhibit 9                                         Hearsay, FRE 602,
9, 2017                                                                                                         Preliminary
                                                                                                                investigative material
FBI Report, Updates and Initiatives (as of 5 October          Exhibit 10                  Consol. Am. Compl.,   Hearsay, FRE 602,
2012) [“Florida Bulldog Memorandum”]                                                      Appx. 3               FRE 901, Preliminary
                                                                                          (ECF No. 3463-4);     investigative material
                                                                                          Kreindler Ex. 2
Center for Religious Freedom of Freedom House and             Exhibit 11                                        Hearsay, FRE 602
Institute for Gulf Affairs, Saudi Arabia’s Curriculum of
Intolerance With Excerpts from Saudi Ministry of
Education Textbooks for Islamic Studies, 2006
Part Four, Joint Inquiry into Intelligence Community          Exhibit 12                  Consol. Am. Compl., Hearsay, FRE 602,
Activities Before and After the Terrorist Attacks of                                      Appx. 2              Preliminary
September 11, 2001 (the “28 Pages”)                                                       (ECF Nos. 3463-2-3); investigative material
                                                                                          Kreindler Ex. 13
U.S. State Department Diplomatic Cable, Bosnia: Algerian      Exhibit 13                                        Hearsay, FRE 602,
Case Continues to Draw Attention; Update on Outstanding                                                         Preliminary
Cases, February 2002                                                                                            investigative material


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U.S. State Department Diplomatic Cable, Terrorism          Exhibit 14                                       Hearsay, FRE 602,
Finance: Regulation of Charities, May 2002                                                                  Preliminary
                                                                                                            investigative material
U.S. State Department Diplomatic Cable, Bosnia Counter-    Exhibit 15                                       Hearsay, FRE 602,
Terrorism Update, July 2002                                                                                 Preliminary
                                                                                                            investigative material
U.S. State Department Diplomatic Cable, Terrorist          Exhibit 16 Aver. Ex. 229     Kreindler Ex. 243   Hearsay, FRE 602,
Finance: Bosnia’s Dirty Dozen, November 2002                          (ECF No. 2930)                        Preliminary
                                                                                                            investigative material
U.S. State Department Diplomatic Cable, Terrorist          Exhibit 17                                       Hearsay, FRE 602,
Finance: Al-Haramayn and Global Relief Face Criminal                                                        Preliminary
Charges, November 2002                                                                                      investigative material
U.S. State Department Diplomatic Cable, Terrorist          Exhibit 18                                       Hearsay, FRE 602,
Finance: Dirty Dozen’s Web of Deceit, August 2003                                                           Preliminary
                                                                                                            investigative material
Letter from Alawi Mohammed Saeed Kamel (Chairman,           Exhibit 19                                      Hearsay
Dallah Avco) to H.E. Eng. Mohamed Ahmed Ai-Salmi
(General Manager of Airway Engineering, Presidency of
Civil Aviation), 18/12/1419 A.H. (corresponding to April 4,
1999) (DA001101-1102)
Letter from Engineer Muhammad Ahmad Al Salemi              Exhibit 20
(General Manager of Airways Engineering) to His
Excellency/Chairman of the Board of Directors of the
Dallah Group, 20/12/1419G (corresponding to April 6,
1999) (DA001104)




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Source                                                        Exhibit     Previous Use   Filings            Immaterial
Letter from Alawi Mohammed Saeed Kamel (Chairman,           Exhibit 21                                      Hearsay
Dallah Avco) to H.H./President of Civil Aviation,
21/12/1419 A.H. (corresponding to April 7, 1999)
(DA001110)
Letter from Dr. Ali Bin Abdul-Rahman Al-Khalaf               Exhibit 22
(President of the Civil Aviation) to H.H. Assistant Minister
of Defense and Aviation and Inspector General for Civil
Aviation Affairs, 1/1/1420 A.H. (corresponding to April 17,
1999) (DA001357)
9/11 Commission Memorandum for the Record, Interview        Exhibit 23 Aver. Ex. 30      Kreindler Ex. 6    Hearsay, FRE 602,
of Omar al Bayoumi, October 16-18, 2003                                (ECF No. 2930)                       Preliminary
                                                                                                            investigative material
9/11 Commission Memorandum for the Record, Interview        Exhibit 24 Aver. Ex. 31      Kreindler Ex. 3    Hearsay, FRE 602,
of Fahad al Thumairy, February 23-25, 2004                             (ECF No. 2930)                       Preliminary
                                                                                                            investigative material
9/11 Commission Memorandum for the Record, Interview        Exhibit 25 Aver. Ex. 32                         Hearsay, FRE 602,
of Caysan bin Don, April 20, 2004                                      (ECF No. 2930)                       Preliminary
                                                                                                            investigative material
9/11 Commission Memorandum for the Record, Interview        Exhibit 26 Aver. Ex. 33      Kreindler Ex. 12   Hearsay, FRE 602,
of FBI Special Agent [Name Redacted], November 17,                     (ECF No. 2930)                       Preliminary
2003                                                                                                        investigative material
9/11 Commission Memorandum for the Record, Interview        Exhibit 27 Aver. Ex. 34                         Hearsay, FRE 602,
of Osama Basnan, October 21-22, 2003                                   (ECF No. 2930)                       Preliminary
                                                                                                            investigative material
9/11 Commission Memorandum for the Record, Interview        Exhibit 28                   Kreindler Ex. 4    Hearsay, FRE 602,
of Khalil A. Khalil, February 24, 2004                                                                      Preliminary
                                                                                                            investigative material


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9/11 Commission Memorandum for the Record, Interview       Exhibit 29                                     Hearsay, FRE 602,
of Mohammad Al-Qudhaieen, October 26, 2003                                                                Preliminary
                                                                                                          investigative material
9/11 Commission Memorandum for the Record, Interview       Exhibit 30                  Kreindler Ex. 22   Hearsay, FRE 602,
of Hamdan Bin Gharib Al-Shalawi, October 23, 2003                                                         Preliminary
                                                                                                          investigative material
9/11 Commission Memorandum for the Record, Interview       Exhibit 31 Aver. Ex. 74                        Hearsay, FRE 602,
of Muhammad Jabber Hassan Fakihi, October 21, 2003                    (ECF No. 2930)                      Preliminary
                                                                                                          investigative material
9/11 Commission Memorandum, Meeting with Members of        Exhibit 32                                     Hearsay, FRE 602,
Majlis Ash Shura, October 14, 2003                                                                        Preliminary
                                                                                                          investigative material
9/11 Commission Memorandum, Summary of Interviews          Exhibit 33                                     Hearsay, FRE 602,
Conducted in Saudi Arabia, February 25, 2004                                                              Preliminary
                                                                                                          investigative material
U.S. Department of Defense, Joint Task Force Guantanamo    Exhibit 34                                     Hearsay, FRE 602,
Detainee Assessment for Ghassan Abdallah Ghazi al-Shirbi                                                  FRE 901, Preliminary
(a/k/a Abdulah al-Sharbi), October 15, 2004                                                               investigative material
FBI Report, Fahad Althumairy (NON-USPER), IT-OTHER         Exhibit 35 Aver. Ex. 35     Kreindler Ex. 5    Hearsay, FRE 602,
(UBL/AL-QAEDA), September 4, 2002                                     (ECF No. 2930)                      FRE 901, Preliminary
                                                                                                          investigative material
FBI Report, Fahad Althumairy (NON-USPER), IT-OTHER         Exhibit 36                  Kreindler Ex. 19   Hearsay, FRE 602,
(UBL/AL-QAEDA), October 25, 2002                                                                          FRE 901, Preliminary
                                                                                                          investigative material
FBI Report, Omar Al Bayoumi, Employed By Dallah Al         Exhibit 37 Aver. Ex. 36                        Hearsay, FRE 602,
Baraka, April 15, 2002                                                (ECF No. 2930)                      FRE 901, Preliminary
                                                                                                          investigative material


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FBI Report, Connections of San Diego PENTTBOMB             Exhibit 38 Aver. Ex. 37                        Hearsay, FRE 602,
Subjects to the Government of Saudi Arabia (Version #1)               (ECF No. 2930)                      FRE 901, Preliminary
                                                                                                          investigative material
FBI Report, Connections of San Diego PENTTBOMB             Exhibit 39 Aver. Ex. 38                        Hearsay, FRE 602,
Subjects to the Government of Saudi Arabia (Version #2)               (ECF No. 2930)                      FRE 901, Preliminary
                                                                                                          investigative material
FBI Report, Connections of San Diego PENTTBOMB             Exhibit 40 Aver. Ex. 39                        Hearsay, FRE 602,
Subjects to the Government of Saudi Arabia (Version #3)               (ECF No. 2930)                      FRE 901, Preliminary
                                                                                                          investigative material
FBI Report, Connections of San Diego PENTTBOMB             Exhibit 41                                     Hearsay, FRE 602,
Subjects to the Government of Saudi Arabia (Version #4),                                                  FRE 901, Preliminary
FBI Document Compiled by the JICI Task Force, ASAC                                                        investigative material
Robert Blecksmith (October 9, 2002)
FBI Report, PENTTBOMB; Major Case 182, October 3,          Exhibit 42 Aver. Ex. 49                        Hearsay, FRE 602,
2001 (Version #1)                                                     (ECF No. 2930)                      FRE 901, Preliminary
                                                                                                          investigative material
FBI Report, PENTTBOMB; Major Case 182, October 3,          Exhibit 43 Aver. Ex. 50                        Hearsay, FRE 602,
2001 (Version #2)                                                     (ECF No. 2930)                      FRE 901, Preliminary
                                                                                                          investigative material
FBI Report, PENTTBOMB; Major Case 182, October 3,          Exhibit 44 Aver. Ex. 51                        Hearsay, FRE 602,
2001 (Version #3)                                                     (ECF No. 2930)                      FRE 901, Preliminary
                                                                                                          investigative material
FBI 302 Statement concerning Omar al Bayoumi,              Exhibit 45 Aver. Ex. 52                        Hearsay, FRE 602,
September 22, 2001                                                    (ECF No. 2930)                      FRE 901, Preliminary
                                                                                                          investigative material




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FBI Report, PENTTBOMB, April 11, 2002                    Exhibit 46 Aver. Ex. 63     Kreindler Ex. 11   Hearsay, FRE 602,
                                                                    (ECF No. 2930)                      FRE 901, Preliminary
                                                                                                        investigative material
FBI Report, Mihdar Mohammad Al-Mihdar Zaid, A.K.A.       Exhibit 47 Aver. Ex. 46                        Hearsay, FRE 602,
Mohdar Mohamed Abdullah; IT-UBL/Al QAIDA, May 17,                   (ECF No. 2930)                      FRE 901, Preliminary
2004.                                                                                                   investigative material
FBI Report, Mihdar Mohammad Al-Mihdar Zaid, A.K.A.       Exhibit 48 Aver. Ex. 47                        Hearsay, FRE 602,
Mohdar Mohamed Abdullah; IT-UBL/Al QAIDA, May 18,                   (ECF No. 2930)                      FRE 901, Preliminary
2004                                                                                                    investigative material
FBI 302 Statement concerning Omar al Bayoumi and         Exhibit 49 Aver. Ex. 45                        Hearsay, FRE 602,
Mohdar Abdullah, January 15, 2002 and January 11, 2001              (ECF No. 2930)                      FRE 901, Preliminary
                                                                                                        investigative material
FBI Report, PENTTBOMB; Major Case 182, August 6,         Exhibit 50                                     Hearsay, FRE 602,
2002                                                                                                    FRE 901, Preliminary
                                                                                                        investigative material
FBI Report, [Redacted] UBL – Al QAEDA, August 6, 2002    Exhibit 51                                     Hearsay, FRE 602,
                                                                                                        FRE 901, Preliminary
                                                                                                        investigative material
FBI Report, PENTTBOMB; Major Case 182, June 3, 2002      Exhibit 52                                     Hearsay, FRE 602,
                                                                                                        FRE 901, Preliminary
                                                                                                        investigative material
FBI 302 Statement concerning Qualid Benomrane, March     Exhibit 53                                     Hearsay, FRE 602,
7, 2002                                                                                                 FRE 901, Preliminary
                                                                                                        investigative material
FBI Report, Ziyat Kharfan, a.k.a. Ziad Mohamad Karfan;   Exhibit 54                                     Hearsay, FRE 602,
IT-UBL, January 8, 2002                                                                                 FRE 901, Preliminary
                                                                                                        investigative material


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FBI Report, Ali Ahmad Mesdaq; International Terrorism-     Exhibit 55                                     Hearsay, FRE 602,
Usama Bin Laden, January 28, 2002                                                                         FRE 901, Preliminary
                                                                                                          investigative material
FBI 302 Statement, January 15, 2002 (Version #1)           Exhibit 56                                     Hearsay, FRE 602,
                                                                                                          FRE 901, Preliminary
                                                                                                          investigative material
FBI 302 Statement, January 15, 2002 (Version #2)           Exhibit 57                                     Hearsay, FRE 602,
                                                                                                          FRE 901, Preliminary
                                                                                                          investigative material
FBI 302 Statement, January 15, 2002 (Version #3)           Exhibit 58                                     Hearsay, FRE 602,
                                                                                                          FRE 901, Preliminary
                                                                                                          investigative material
FBI 302 Statement of Caysan Bin Don, October 8, 2001       Exhibit 59                                     Hearsay, FRE 602,
                                                                                                          FRE 901, Preliminary
                                                                                                          investigative material
FBI 302 Statement concerning Mohdar Mohamed                Exhibit 60                                     Hearsay, FRE 602,
Abdullah, September 22, 2001                                                                              FRE 901, Preliminary
                                                                                                          investigative material
FBI Report, PENTTBOMB; Major Case 182, September           Exhibit 61                                     Hearsay, FRE 602,
16, 2001                                                                                                  FRE 901, Preliminary
                                                                                                          investigative material
FBI Report, Twin Towers Bombings, September 12, 2001       Exhibit 62                                     Hearsay, FRE 602,
                                                                                                          FRE 901, Preliminary
                                                                                                          investigative material
FBI Report, Biographical Information on the 19 Suspected   Exhibit 63                                     Hearsay, FRE 602,
Hijackers, September 29, 2001                                                                             FRE 901, Preliminary
                                                                                                          investigative material


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FBI Report, Hamdan Ghareeb Al-Shalawi; IT-UBL/AL          Exhibit 64                                      Hearsay, FRE 602,
QAEDA, October 16, 2003                                                                                   FRE 901, Preliminary
                                                                                                          investigative material
FBI Report, Interview of Omar Ahmed Mustafa Al-           Exhibit 65                  Kreindler Ex. 9     Hearsay, FRE 602,
Bayoumi, September 17, 2003 (Version #1)                                                                  FRE 901, Preliminary
                                                                                                          investigative material
FBI Report, Interview of Omar Ahmed Mustafa Al-           Exhibit 66                                      Hearsay, FRE 602,
Bayoumi, September 17, 2003 (Version #2)                                                                  FRE 901, Preliminary
                                                                                                          investigative material
FBI 302 Statement concerning Omar Ahmed Mustafa Al-       Exhibit 67                                      Hearsay, FRE 602,
Bayoumi, August 18, 2003                                                                                  FRE 901, Preliminary
                                                                                                          investigative material
FBI Report, Hijackers Timeline, November 14, 2003         Exhibit 68                  Kreindler Ex. 221   Hearsay, FRE 602,
                                                                                                          FRE 901, Preliminary
                                                                                                          investigative material
Substitution for the Testimony of Khalid Sheikh           Exhibit 69                                      Hearsay, FRE 602,
Mohammed, Defendant’s Trial Exhibit #941, United States                                                   Preliminary
v. Moussaoui, No. 01-455-A (E.D. Va. 2006)                                                                investigative material
Prosecution Trial Exhibit #AQ01677T, United States v.     Exhibit 70                                      Hearsay, FRE 602,
Moussaoui, No. 01-455-A (E.D. Va. 2006)                                                                   FRE 901
FBI Report, Anwar Nasser Aulaqi, September 26, 2001       Exhibit 71 Aver. Ex. 54                         Hearsay, FRE 602,
(Version #1)                                                         (ECF No. 2930)                       FRE 901, Preliminary
                                                                                                          investigative material
FBI Report, Anwar Nasser Aulaqi, September 26, 2001       Exhibit 72 Aver. Ex. 55                         Hearsay, FRE 602,
(Version #2)                                                         (ECF No. 2930)                       FRE 901, Preliminary
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FBI Report, PENTTBOMB, September 26, 2001                 Exhibit 73 Aver. Ex. 57                        Hearsay, FRE 602,
                                                                     (ECF No. 2930)                      FRE 901, Preliminary
                                                                                                         investigative material
FBI Report, Anwar Nasser Aulaqi, aka N.A. Aulaqi, Anwar   Exhibit 74 Aver. Ex. 58                        Hearsay, FRE 602,
N. Alaulaqi; IT-UBL, October 23, 2001                                (ECF No. 2930)                      FRE 901, Preliminary
                                                                                                         investigative material
FBI 302 Statement concerning Anwar Nasser Aulaqi,         Exhibit 75 Aver. Ex. 59                        Hearsay, FRE 602,
September 27, 2001                                                   (ECF No. 2930)                      FRE 901, Preliminary
                                                                                                         investigative material
FBI Report, Anwar Aulaqi; IT-UBL, May 9, 2002             Exhibit 76 Aver. Ex. 60                        Hearsay, FRE 602,
                                                                     (ECF No. 2930)                      FRE 901, Preliminary
                                                                                                         investigative material
FBI Memorandum, Abu Atiq Anwar Aulaqi, December 1,        Exhibit 77 Aver. Ex. 61                        Hearsay, FRE 602,
2006                                                                 (ECF No. 2930)                      FRE 901, Preliminary
                                                                                                         investigative material
FBI documents released in response to a Freedom of        Exhibit 78                                     Hearsay, FRE 602,
Information Act (“FOIA”) request concerning Anwar                                                        FRE 901, Preliminary
Nasser Aulaqi and Umar Farouk Abdul Mutallab                                                             investigative material
FBI Report, Shareef Abdulmuttaleb El-Arbi, (USPER), IT-   Exhibit 79                                     Hearsay, FRE 602,
UBL/AL-QAEDA, February 4, 2003 (Version #1)                                                              FRE 901, Preliminary
                                                                                                         investigative material
FBI Report, Shareef Abdulmuttaleb El-Arbi, (USPER), IT-   Exhibit 80                                     Hearsay, FRE 602,
UBL/AL-QAEDA, February 4, 2003 (Version #2)                                                              FRE 901, Preliminary
                                                                                                         investigative material
FBI Report, Shareef Abdulmuttaleb El-Arbi, (USPER), IT-   Exhibit 81                                     Hearsay, Preliminary
UBL/AL-QAEDA, February 4, 2003 (Version #3)                                                              investigative material



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Excerpt from FBI Report concerning Anwar Nasser Aulaqi,   Exhibit 82                                     Hearsay, FRE 602,
September 15, 2001                                                                                       FRE 901, Preliminary
                                                                                                         investigative material
Excerpt from FBI Report concerning Anwar Aulaqi,          Exhibit 83                                     Hearsay, FRE 602,
September 21, 2001                                                                                       FRE 901, Preliminary
                                                                                                         investigative material




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